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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   8:94CR95
                                          )
             v.                           )
                                          )
MICHAEL J. CRESTONI,                      )                MEMORANDUM
                                          )                 AND ORDER
                    Defendant.            )


       Today, the defendant admitted allegation 3 of the amended petition regarding use
of drugs, and I dismissed without prejudice the remaining allegations. I also determined
not to sentence the defendant, but rather to postpone sentencing and, in the interim,
impose two additional conditions of supervised release. The lawyers for both parties
agreed with my decision. Therefore,

      IT IS ORDERED:

      1.     This matter is reassigned to Senior U.S. Probation Officer Denise Ahl. She
             is directed to implement the terms and conditions of this order including
             coordination with the Bureau of Prison, the United States Marshals
             Service, Bristol Station, and Jon Braaten, counsel for the defendant.

      2.     Mr. Braaten is directed to transport Mr. Crestoni to Bristol Station when
             notified to do so by Ms. Ahl.

      3.     The United States Marshals Service is directed to release Mr. Crestoni to
             Mr. Braaten when notified to do so by Ms. Ahl.

      4.     The additional conditions of supervision which the defendant is ordered to
             abide by are these:
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             A.     The defendant will reside in a residential reentry center (RRC) for
                    a period of up to 120 days in the correctional component, to
                    commence at the direction of the Probation Officer, and the
                    defendant shall observe the rules of that facility. The defendant may
                    be discharged earlier than 120 days by the Probation Officer, if the
                    defendant is determined to be in full compliance with the conditions
                    of supervision. The Court strongly recommends that Bristol Station
                    in Hastings, Nebraska be designated.1 If Bristol Station is not
                    designated by the Bureau of Prison, Ms. Ahl shall immediately
                    contact me.

             B.     The defendant will participate in a drug treatment program, whether
                    residential or not, when directed to do so by the United States
                    Probation Officer and the defendant will abide by all the rules and
                    regulations of the provider.

      5.     My chambers shall provide a copy of this Memorandum and Order to the
             United States Marshals Service.

      6.     My chambers shall provide a copy of this Memorandum and Order to Ms.
             Ahl.

      7.     The Clerk shall give notice to counsel of the entry of this Memorandum
             and Order in the normal fashion.

      DATED this 2nd day of November, 2012.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge

      1
       The Court strongly encourages the Bureau of Prisons to designate Bristol Station
because the defendant’s ties to drug users in Omaha is too extensive to place him in
Omaha.
